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4

5    Attorney for George B. Larsen
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8                         UNITED STATES DISTRICT COURT
9                        EASTERN DISTRICT OF CALIFORNIA
10

11   United States of America,            No.   2:15-CR-190 GEB
12                Plaintiff,              STIPULATION AND [PROPOSED] ORDER
                                          RESETTING SENTENCING DATE
13       v.
14   George B. Larsen,
15                Defendant.
16

17       IT IS HEREBY STIPULATED by and between the parties hereto
18   though their respective counsel, Audrey Hemesath, Assistant
19   United States Attorney, and Dustin D. Johnson, Counsel for GEORGE
20   B. LARSEN, that:
21     1. By previous order, this matter was set for sentencing on May
22       18, 2018.
23     2. By stipulation, the parties now move to continue sentencing
24       to June 22, 2018.
25     3. The Defense needs additional time to prepare for sentencing
26       by, inter alia, consulting with an expert, consulting with
27       the client and researching issues pertinent to making a
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1          recommendation to the Court for a proposed sentence.

2      4. The prosecutor has no objection.

3

4    IT IS SO STIPULATED.

5

6          The prosecutor has authorized defense counsel to sign this

7    stipulation on her behalf.

8          The probation officer has no objection to continuing the

9    Judgment and Sentencing to June 22, 2018 and has provided the

10   following briefing schedule based on the new Judgement and

11   Sentencing Date of June 22, 2018:

12

13        Reply, or Statement of Non-Opposition: JUNE 15, 2018

14        Motion for Correction of the Presentence Report shall be

15         filed with the Court and served on the Probation Officer and

16         opposing counsel no later than: JUNE 8, 2018

17        The Presentence Report shall be filed with the Court and

18         disclosed to counsel no later than: JUNE 1, 2018

19        Counsel’s written objections to the Presentence Report shall

20         be delivered to the Probation Officer and opposing counsel
21         no later than: MAY 25, 2018

22         The proposed Presentence Report was disclosed to counsel on

23   April 6, 2018.

24

25   Dated:April 18, 2018        Respectfully Submitted,

26                          By: /s/ Dustin Johnson
                                DUSTIN D. JOHNSON
27                              Attorney for Defendant
                                George B. Larsen
28
                                         2
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1                               McGregor W. Scott
                                United States Attorney
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3                          By: /s/Audrey Hemesath(approved via email)
                               AUDREY B. HEMESATH
4                              Assistant U.S. Attorney

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6
                                 ORDER
7
        It is so ordered.
8
        Dated:    April 23, 2018
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